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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                         CRIMINAL ACTION
                                            )                         No. 07-20167-08-KHV
v.                                          )
                                            )                         CIVIL ACTION
CHARLES R. SINGLETON,                       )                         No. 11-2406-KHV
                                            )
                         Defendant.         )
____________________________________________)

                                 MEMORANDUM AND ORDER

        This matter is before the Court on defendant’s Motion To Vacate, Set Aside, Or Correct

Sentence Pursuant To Title 28 United States Code Section 2255 (Doc. #655) filed July 21, 2011.

In the interest of justice, the Court directs the parties to file briefs which are limited to the issue of

potential procedural bars to defendant’s motion. See United States v. Allen, 16 F.3d 377, 378-79

(10th Cir. 1994) (court may raise and enforce procedural bar sua sponte if doing so furthers interests

of judicial efficiency, conservation of scarce judicial resources and orderly and prompt

administration of justice). In particular, defendant’s claims appear to be barred because they are not

timely.1 A court may raise procedural bars sua sponte but must afford the movant an opportunity

to respond to the defenses. See United States v. Warner, 23 F.3d 287, 291 (10th Cir. 1994); see also

United States v. DeClerck, 252 Fed. Appx. 220, 224 (10th Cir. 2007) (district courts “permitted, but



        1
               Section 2255 provides a one-year period of limitation which ordinarily runs from the
date on which the judgment of conviction becomes final. A judgment of conviction becomes final
when the time expires for filing a petition for certiorari contesting the appellate court’s affirmation
of the conviction. Clay v. United States, 537 U.S. 522, 524-25 (2003). Here, the Tenth Circuit
issued its mandate on January 19, 2010. The deadline to file a petition for certiorari expired on or
about March 29, 2010, i.e. 69 days after the appellate court issued its mandate. See id.
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not obliged” to review, sua sponte, whether Section 2255 motion timely filed); United States v.

Barajas-Diaz, 313 F.3d 1242, 1247 (10th Cir. 2002) (court may raise procedural bar sua sponte

where transcendent interests served by that defense warrant it).

       IT IS THEREFORE ORDERED that on or before August 22, 2011, the government

shall file a brief which is limited to the issue of potential procedural bars to defendant’s

Motion To Vacate, Set Aside, Or Correct Sentence Pursuant To Title 28 United States Code

Section 2255 (Doc. #655) filed July 21, 2011. On or before September 12, 2011, defendant may

file a response brief which is limited to the issue of potential procedural bars to his motion.

       Dated this 8th day of August, 2011 at Kansas City, Kansas.

                                             s/ Kathryn H. Vratil
                                             KATHRYN H. VRATIL
                                             United States District Judge




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